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     ZEROO GRAVITY GAMES LLC
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10
                           UNITED STATES DISTRICT COURT
11
                          CENTRAL DISTRICT OF CALIFORNIA
12
                                     WESTERN DIVISION
13
14   SARA OCHOA and KIMBERLY BROWN,
     on behalf of themselves and those similarly   Case No. CV 22-5896-GW-ASx
15   situated,
                                                   JOINT STATUS REPORT AND
16                     Plaintiffs,                 [PROPOSED] SCHEDULING
                                                   ORDER [FED. R. CIV. P. 16(b)(2)]
17         v.
18   ZEROO GRAVITY GAMES LLC, a
     Delaware limited liability company,
19
                       Defendant.
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                JOINT STATUS REPORT AND [PROPOSED] SCHEDULE
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 1                               JOINT STATUS REPORT
 2         Pursuant to the Court’s November 6, 2023 Order Granting Joint Stipulated
 3   Motion to Extend Stay of Case and Modify Schedule Pending Mediation (ECF No.
 4   77), the parties file this joint status report and proposed stipulated order. Following
 5   a second in-person mediation presided over by Hon. Margaret M. Marrow of
 6   Judicate West, the parties have reached a settlement. The parties are finalizing a
 7   long-form settlement agreement, and Plaintiffs intend to file a Motion for
 8   Preliminary Approval of the Settlement. As set forth in the below stipulation, the
 9   parties request an additional sixty (60) days to finalize the long-form settlement
10   agreement and file the Motion for Preliminary Approval of the Settlement. The
11   parties request that the status conference set for January 18, 2024 at 8:30 a.m. be
12   taken off calendar.
13     JOINT STIPULATED MOTION REGARDING PROPOSED SCHEDULE
14         WHEREAS, on June 6, 2023, Plaintiffs Sara Ochoa and Kimberly Brown
15   (“Plaintiffs”), on behalf of themselves and classes of similarly-situated individuals,
16   filed a Fourth Amended Complaint against Defendant Zeroo Gravity Games LLC
17   (“Defendant” or “Zeroo Gravity”) (“ECF No. 54”);
18         WHEREAS, on July 6, 2023, Zeroo Gravity filed a Motion to Dismiss the
19   Fourth Amended Complaint (ECF No. 62) (“Motion to Dismiss”);
20         WHEREAS, before the Motion to Dismiss was decided, the parties
21   submitted a Joint Stipulated Motion to Stay Case and Modify Discovery Schedule
22   Pending Mediation (ECF No. 74), which the Court granted (ECF No. 75);
23         WHEREAS, pursuant to the Court’s Order, the action was stayed for ninety
24   (90) days until November 13, 2023 to afford the parties an opportunity to participate
25   in mediation and a status conference was set for November 16, 2023;
26         WHEREAS, on October 10, 2023, the Parties participated in a full-day, in-
27   person mediation presided over by Hon. Margaret M. Morrow of Judicate West;
28         WHEREAS, on November 3, 2023, the parties submitted a second Joint

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                JOINT STATUS REPORT AND [PROPOSED] SCHEDULE
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 1   Stipulated Motion to Extend Stay of Case and Modify Schedule Pending Mediation
 2   (ECF No. 76), which the Court granted (ECF No. 77);
 3         WHEREAS, pursuant to the Court’s order, the action was stayed for an
 4   additional sixty (60) days until January 12, 2024 to afford the parties an opportunity
 5   to participate in additional mediation efforts, a status conference was set for January
 6   18, 2024 at 8:30 a.m., and the Court ordered the parties to submit a joint report by
 7   noon on January 11, 2024;
 8         WHEREAS, on November 14, 2023, the Parties participated in a second in-
 9   person mediation presided over by Hon. Margaret M. Marrow of Judicate West;
10         WHEREAS, the Parties have reached a settlement following the second in-
11   person mediation presided over by Hon. Margaret M. Marrow of Judicate West;
12         WHEREAS, the Parties are finalizing the long-form settlement agreement, and
13   Plaintiffs intend to file a Motion for Preliminary Approval of the Settlement;
14         NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED,
15   By Plaintiffs and Defendant, by and through their attorneys, and subject to the
16   Court’s approval, that:
17           1. The Motion for Preliminary Approval of the Settlement shall be filed by
18              March 12, 2024, with a hearing to be set for a time thereafter.
19           2. The status conference set for January 18, 2024 at 8:30 a.m. shall be taken
20              off the calendar.
21
22   Dated: January 11, 2024              ARNOLD & PORTER KAYE SCHOLER LLP
23
24
25                                                 By:    /s/Michael A. Berta
                                                          MICHAEL A. BERTA
26                                                       Attorneys for Defendant
27                                                       ZEROO GRAVITY GAMES LLC

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                JOINT STATUS REPORT AND [PROPOSED] SCHEDULE
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 1   Dated: January 11, 2024          THE RYAN LAW GROUP
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 4                                           By: /s/Andrew T. Ryan
                                                 ANDREW T. RYAN
 5
                                                 Attorneys for Plaintiffs
 6                                               SARA OCHOA and KIMBERLY
                                                 BROWN
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               JOINT STATUS REPORT AND [PROPOSED] SCHEDULE
Case 2:22-cv-05896-GW-AS Document 78 Filed 01/11/24 Page 5 of 6 Page ID #:1656



 1                       [PROPOSED] SCHEDULING ORDER
 2         Pursuant to the Stipulation of the Parties, it is hereby ORDERED that:
 3          1. The Motion for Preliminary Approval of the Settlement shall be filed by
 4             March 12, 2024, with a hearing to be set for a time thereafter.
 5          2. The status conference set for January 18, 2024 at 8:30 a.m. shall be taken
 6             off the calendar.
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     Dated: __________________
 9                                               George H. Wu
10                                               United States District Judge

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               JOINT STATUS REPORT AND [PROPOSED] SCHEDULE
Case 2:22-cv-05896-GW-AS Document 78 Filed 01/11/24 Page 6 of 6 Page ID #:1657



 1                                SIGNATURE ATTESTATION
 2         Pursuant to Local Rule 5-4.3.4(a)(2)(i), I, Michael Berta, attest that all other
 3   signatories listed, and on whose behalf this filing is submitted, concur in the filing’s
 4   content and have authorized the filing.
 5
 6   Dated: January 11, 2024
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 8                                                      /s/Michael A. Berta
                                                         MICHAEL A. BERTA
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                JOINT STATUS REPORT AND [PROPOSED] SCHEDULE
